                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION



 JOHNNY M. HUNT,

                        Plaintiff,                       Case No. 3:23-cv-00243
         v.

 SOUTHERN BAPTIST CONVENTION;                            Judge Campbell
 GUIDEPOST SOLUTIONS LLC; and                            Magistrate Judge Frensley
 EXECUTIVE COMMITTEE OF THE
 SOUTHERN BAPTIST CONVENTION                             JURY DEMAND


                        Defendants.



                    MEMORANDUM OF LAW IN SUPPORT
          OF NON-PARTY JANE DOE’S MOTION FOR PROTECTIVE ORDER

       Pursuant to Federal Rules of Civil Procedure 26(c) and 45(d)(3), non-party Jane Doe (“Jane

Doe”) respectfully submits this Memorandum of Law in support of Jane Doe’s Motion for

Protective Order. Jane Doe has engaged in best efforts to meet and confer with Defendants and

Plaintiff in order to come to an agreement and avoid this motion.

                                         BACKGROUND

       Jane Doe is the survivor of sexual assault committed by Plaintiff Johnny Hunt as described

in the Guidepost report mentioned in Plaintiff’s Complaint. This assault occurred in 2010 and it

has taken Jane Doe and her spouse many years to untangle and address the trauma associated with

that event, its cover up, and the manipulation employed by Plaintiff throughout that process and

its aftermath.

       It took tremendous courage and a thoughtful weighing of the potential impact on her and

her family, in light of valuing the truth, protection of victims, and accountability of Plaintiff and


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Defendant Southern Baptist Convention, for her to come forward to Defendant Guidepost in the

course of their investigation into allegations of abuse, mishandling of abuse allegations,

mistreatment of sexual abuse victims, and patterns of intimidation of sexual abuse victims or

advocates within the Southern Baptist Convention. Upon doing so, Jane Doe had to revisit

extremely traumatic and confusing experiences and risk upending her life again.

       Notably, Jane Doe is not a defendant in this action. While she seeks to comply with the

orders of the court, she also wishes to simply live her life and continue to heal. As such, she and

her spouse each willingly complied with subpoenas duces tecum from Plaintiff in December 2023,

at significant time and expense immediately before the Christmas holidays.

       Defendant Guidepost noticed and subpoenaed Jane Doe on January 17, 2024, for a

deposition on February 8, 2024, but Jane Doe and her counsel were unavailable for that time and

location and the parties began conferring on a future date for the deposition and other parameters

to protect Jane Doe from annoyance, embarrassment, oppression, or undue burden or expense,

more specifically protecting her privacy, her physical and emotional well-being, and her and her

spouse’s employment prospects and relationships.

       On February 15, 2024, Plaintiff emailed counsel for Jane Doe a subpoena for a deposition

on March 15, 2024, despite having been repeatedly informed by counsel for Jane Doe that she was

not authorized to accept service on behalf of Jane Doe. After attempting to set up a call with

Plaintiff counsel and receiving no response, on February 29, 2024, counsel for Jane Doe sent an

email to Plaintiff and reiterated that she never agreed to accept service on behalf of Jane Doe. Of

course, Plaintiff has always had the option of personally serving Jane Doe a subpoena for

deposition. To date, this has not occurred. Plaintiff has had over a year to subpoena and depose

Jane Doe and instead waited until the final months of the discovery cutoff to ignore communication



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from Jane Doe’s counsel, but then complain if we don’t reply quickly enough and then attempt to

schedule such depositions at times when either Jane Doe or her counsel were not available.

       Since fall of 2023, Defendants and Plaintiff were otherwise engaged in numerous discovery

disputes in this case that would potentially affect deposition testimony by Jane Doe, including (1)

disputes related to discovery documents provided both by Defendant Guidepost and Jane Doe

and/or her spouse, (2) third party Roy Blankenship’s motion to quash or for a protective order

(ECF Doc. No. 89), and (3) disputes related to the substantive application of the Protective Order

and its application to third parties such as Jane Doe (now Second Amended and Agreed Protective

Order, ECF Doc. No. 153).

       As these disputes continued, counsel for Jane Doe conferred further with both Defendants

and Plaintiff on possible deposition dates and parameters. Despite attempting to come to an

agreement on the deposition dates and parameters, counsel has been unable to come to a global

agreement amongst the parties. This case has been pending for over a year and Jane Doe, a non-

party who has had to engage counsel and local counsel at considerable expense, is not responsible

for the delay or any upcoming discovery deadline.

       Therefore, Jane Doe has proposed several dates when she, her lead counsel, and her local

counsel are available, along with parameters for the reasonable protection of a victim of sexual

assault who is not even a party to the instant action, for her deposition. We request that the court

consider each request and issue a protective order appropriate for a survivor of sexual assault

unwillingly thrust into the middle of this litigation.

                                           ARGUMENT

1.     Legal Standards

       Rule 26 of the Federal Rules of Civil Procedure provides that discovery:

               Shall be limited by the court if it determines that (i) the discovery
               sought is unreasonably cumulative or duplicative, or is obtainable
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                from some other source that is more convenient, less burdensome,
                or less expensive; (ii) the party seeking discovery has had ample
                opportunity by discovery in the action to obtain the information
                sought; or (iii) the burden or expense of the proposed discovery
                outweighs its likely benefit.

Fed. R. Civ. Proc. 26(b)(2)(C). With respect to limiting discovery through protective orders, Rule

26(c) permits entry of a protective order “for good cause” when necessary to prevent “annoyance,

oppression or undue burden or expense ...” Fed. R. Civ. P. 26(c)(1). The Sixth Circuit notes, “the

harassment or oppression should be unreasonable, but ‘discovery has limits and ... these limits

grow more formidable as the showing of need decreases.’ Thus, even very slight inconvenience

may be unreasonable if there is no occasion for the inquiry and it cannot benefit the party making

it.” Serrano v. Cintas Corp., 699 F.3d 884, 901 (6th Cir. 2012).

        Rule 26(c) provides district courts with broad discretion to issue protective orders. See

Seattle Times Co. v. Rhinehart, 467 U.S. 20, 36 (1984) (“The unique character of the discovery

process requires that the trial court have substantial latitude to fashion protective orders.”);

Diamond Resorts Int'l, Inc. v. Phillips, No. 3:17-cv-01124, 2018 WL 3326814, at *1 (M.D. Tenn.

Apr. 17, 2018).

        “[P]retrial discovery … ordinarily proceeds as a private interchange between the parties,

the fruits of which are not presumptively public.” The Courier Journal v. Marshall, 828 F.2d

361, 364 (6th Cir. 1987) (citing Seattle Times Co. v. Rhinehart, 467 U.S. 20, 36 (1984)).

2.      Good Cause Exists to Issue a Protective Order For Jane Doe’s Deposition

        A.      Agreed Conditions

        Plaintiff, Defendants, and Jane Doe have agreed for the deposition to occur in Orlando,

Florida, at a mutually agreed location, given Jane Doe’s lead counsel’s location in the area and

ease of air travel for all parties.

        Plaintiff, Defendants, and Jane Doe have also agreed for support personnel such as court

reporter and/or videographer to be female, given the sensitive nature of Jane Doe’s experience

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and the recognized reality of the greater number of male individuals expected to be present at the

deposition.

       Plaintiff, Defendants, and Jane Doe have also agreed that the Second Amended Agreed

Protective Order (ECF Doc. No. 153) is controlling.

       B.      Date of Deposition

       Counsel understands that fact witness discovery cutoff is currently April 19, 2024.

Although the parties are generally agreeable to a deposition date past the cutoff and have

identified dates that work for parties and attorneys, Plaintiff has expressed opposition to a delay

beyond the current discovery deadline for fact witnesses.

       Defendant Guidepost has noticed Jane Doe’s deposition for April 16, 2024; however, as

of the time of this filing, Jane Doe’s lead counsel, Basyle Tchividjian, as counsel for a plaintiff,

is scheduled to begin a trial in New York state on April 15, 2024. Also, Jane Doe’s local counsel

has a hospital procedure for her minor child on April 16, 2024, out-of-state, requiring air travel

for her and her child to North Carolina from Tennessee and back.

       Jane Doe and her counsel noted their availability for her deposition on May 7, 2024 or

May 8, 2024, but those dates did not work for Plaintiff. The next dates of availability for Jane

Doe and counsel are May 21, 2024, or May 22, 2024 with a preference for May 22, 2024.

       C.      Length of Deposition

       Courts have the authority to limit the time of a deposition. In this case, Plaintiff’s claims

are not against Jane Doe. Plaintiff’s claims, to the extent they relate to Jane Doe, should not allow

him to go on a fishing expedition into her trauma. Defendants have agreed to a total of two hours

among them to depose Jane Doe (this amounts to an average of forty minutes of deposition time

for each Defendant). Jane Doe has requested that Plaintiff agree to an hour for a total deposition

time of three hours, but Plaintiff opposes this limitation. Jane Doe should not be forced to be


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deposed for more than a total of three hours in a matter in which she is not a party regarding a

subject matter that is profoundly personal and traumatizing. It is critical to note that this case is

about allegations of defamation against the Defendants, not Jane Doe.

        D.      Individuals Attending Deposition

        Given the highly sensitive nature of Jane Doe’s experience, sitting in a room with dozens

of people, most of whom she has never met and does not know, is intimidating and expected to

be traumatic. A request for each party to send only one individual (with the exception of Plaintiff

Hunt) and one attorney still results in possibly eleven individuals in the room with Jane Doe. All

Defendants have agreed to these conditions.

        Other courts have held that only one attorney may question a witness at a deposition. E.g.,

Finjan, Inc. v. Cisco Sys. Inc., Case No. 17-cv-00072-BLF (SVK) (N.D. Cal. Sept. 9, 2019);

Applied Telematics, Inc. v. Sprint Corp., No. 94-cv-4603, 1995 WL 79237, at *4-5 (E.D. Pa. Feb.

22, 1995) (“Therefore, in order to proceed in an effective manner, without harassing the witness,

only one attorney at a time shall be designated as the ‘voice’ of counsel at a deposition” and

“Only one attorney for each party shall be permitted to act as counsel during a

deposition”); Cont’l Cas. Co. v. Compass Bank, No. 04-0766, 2005 WL 8158673, at *4 (S.D.

Ala. Dec. 7, 2005).

        Given such a guideline regarding attorney questioning, and the privacy interest of Jane

Doe in limiting the number of unknown individuals witnessing her deposition testimony, our

request for only one attorney per party attending Jane Doe’s deposition is reasonable.

        E.      Presence of Plaintiff Hunt

        Jane Doe should not be forced to sit in a room for hours with the perpetrator of her sexual

assault. Plaintiff has no Constitutional right to be present for her deposition. This is not a criminal

case and indeed, the only reason the case exists is because Plaintiff Hunt brought it. He can be

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adequately represented at the deposition by his counsel much like the roles and protections

afforded under the Highly Confidential – Attorneys’ Eyes Only designation of the Second

Amended Agreed Protective Order (ECF Doc. No. 153).

       F.      Deposition Transcript: Highly Confidential – Attorneys’ Eyes Only

       Similar to other documents provided in discovery that identify Jane Doe and discuss

details of her sexual assault and were designated by this counsel as Highly Confidential –

Attorneys’ Eyes Only, the deposition transcript will likely include “extremely sensitive

Confidential information … the disclosure of which to another party or non-party would create a

substantial risk of serious harm that could not be avoided by less restrictive means.” See Second

Amended Agreed Protective Order (ECF Doc. No. 153).

       On a meet and confer call, Plaintiff’s counsel stated that Jane Doe’s testimony would be

“very public, very public.” See Melissa J. Hogan Declaration, ¶ 20. This suggestion that now or

later, or even at trial, assuming without question that the court would require revelation of Jane

Doe’s identity and the details of her sexual assault to be publicly on display, which is not

necessary for this case to proceed, is improper and suggestive that there is an intent and motive

to reveal Jane Doe’s identity. That statement, taken together with two redaction “errors”

including the most recent one (within the last twenty-four hours and only days after Plaintiff

learned of our intent to proceed under a pseudonym and his refusal to state a position) that

includes Jane Doe’s first and last name multiple times in the excerpt of a deposition attached to

Plaintiff’s motion, despite the references being subject to a Highly Confidential – Attorneys’

Eyes Only designation, evidences a need for strong protection by the court of discovery matters

relating to Jane Doe. See Melissa J. Hogan Declaration, ¶ 10-11, 25-28.

       Sharing Jane Doe’s identity with more individuals risks harm to her and her spouse

emotionally, financially, reputationally, relationally, and professionally by increasing the risk of

her identity being revealed publicly as well as a loss of a sense of safety and agency over her own

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traumatic experience, an essential part of healing from trauma.

       Sexual assault involves trauma and stigma. Allegations against known figures or in cases

otherwise with media interest involve an even greater risk of emotional harm to a victim, where

their most intimate pain is put on display for others’ commentary, judgment, and entertainment.

If the general public were to learn Jane Doe’s identity, the trauma she continues to endure related

to the sexual assault and its aftermath will only increase as her experience, then connected to her

as an individual, would then be shared widely without her ownership or consent.

       The Guidepost report had a significant impact within the Southern Baptist community.

The media was interested in the report and has also written about this case. However, Jane Doe’s

identity has not been revealed publicly. Not guarding her identity and the contents of the

transcript of her deposition increases the risk of that disclosure.

       Allegations against prominent leaders within a faith community carry even more risk of

rupturing relationships and burdening career prospects of her spouse, who at the time of the

sexual assault was a pastor within the denomination, which then could affect Jane Doe financially

as well. These risks of harm outweigh any argument for a less stringent designation under the

Second Amended Agreed Protective Order (ECF Doc. No. 153). She should not be penalized for

being unwillingly brought into a case about a traumatic and harmful event.

       G.      Control of Video Recording

       Jane Doe’s image identifies her in a similar way as her name and other identifiable

information. In addition, as we have learned with other visual images in this digital age, whether

photographs or video recordings, they rarely ever disappear completely. Indeed, the more

salacious or controversial the images or recordings, as is the case for crimes such as sexual assault

or other sexual images or recordings, the more likely they are to be shared and perpetuated.

       For similar reasons expressed above regarding her deposition transcript, and even more

so because of the vulnerability of a video representation of someone speaking about traumatic

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and personal experiences, any video recording of her deposition should be protected by the court.

Jane Doe never wished to participate in this proceeding. She is not a party. She does not benefit

from this case. To force a victim of sexual assault to appear on video about her assault, and for

that video to be in the hands of numerous individuals, their assistants, case experts, including her

alleged perpetrator, is for the court to participate in further traumatizing Jane Doe.

           Jane Doe does not wish to be videotaped. While we have significant concerns about a

video of Jane Doe’s deposition existing at all, in an effort to be reasonable, our hope is that if the

Court places strict controls around the existence and maintenance of any video of her deposition,

such as designating it Highly Confidential – Attorneys’ Eyes Only and maintaining the recording

in the custody of the Court or Jane Doe’s counsel until such time as the Court authorizes release

to the parties in anticipation of trial, this could offer reasonable protection for a victim of sexual

assault.

           H.     Cost Shifting

           Rule 26(c)(1)(B) of the Federal Rules of Civil Procedure provides that when entering a

protective order to protect a party or person from, among other things, “undue burden or

expense,” the court may specify the “time and place or the allocation of expenses, for the

disclosure or discovery[.]” Fed. R. Civ. P. 26(c)(1)(B) (emphasis added).

           Costs to comply with the subpoena/notice, obtain protective order, and appear for the

deposition to be shifted to the noticing party, Defendant Guidepost, Plaintiff Hunt (since his

opposition to most of our motions and requests is what brings us to the court), and/or any other

party the Court deems appropriate is a reasonable request given the limited relative resources of

Jane Doe, her status as a non-party, the duplication of her information to that of the Defendant

Guidepost investigators and documents otherwise provided during discovery, and the traumatic

nature of her testimony.

           The particular facts of the case determine whether the court will exercise its discretion to
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shift costs. See Oxbow Carbon & Minerals LLC v. Union P. R.R. Co., 322 F.R.D. 1, 10-11

(D.D.C. 2017) (determining whether document discovery warrants cost-shifting turns on the

specific needs of the case, the amount in controversy, the parties’ resources, the importance of

the issues at stake, and the importance of the proposed discovery in resolving those issues); 8A

Wright & Miller, Fed. Prac. & Proc. § 2112 (3d ed.) (“the court has a wide discretion in selecting

the place of examination and in attaching conditions concerning the payment of expenses,” which

depend on the particular facts of the case).

       Factors courts consider in shifting costs under F.R.C.P. 26 include:

   1. The extent to which the request is specifically tailored to discover relevant information;

   2. The availability of such information from other sources;

   3. The total cost of production, compared to the amount in controversy;

   4. The total cost of production, compared to the resources available to each party;

   5. The relative ability of each party to control costs and its incentive to do so;

   6. The importance of the issues at stake in the litigation; and

   7. The relative benefits to the parties of obtaining the information.

   Zubulake v. UBS Warburg LLC (Zubulake I), 217 F.R.D. 309, 322 (S.D.N.Y. 2003).

       The focus must be: “does the request impose an ‘undue burden or expense’ on the

responding party” and “how important is the sought-after evidence in comparison to the cost of

production?” Id. at 133. In answering these questions, the first two factors—the marginal utility

factors—are most important and the last two factors least. Id. at 134. “[T]he importance of the

litigation” will “only rarely come into play” and “the relative benefits of the production” will

generally benefit the requesting party, but “in the unusual case” may also benefit the responding

party and that fact “may weigh against shifting costs.” Id. at 135.

       In this case, Jane Doe is an individual without substantial financial resources versus

Defendant Guidepost as a corporate entity who received fees from Defendant Southern Baptist


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Convention for its work on the report. Jane Doe was not paid for revealing these painful personal

details and instead, has also incurred expenses as part of responding to requests in this case. To

her, every dollar of legal expense, lost time, and additional time spent in trauma due to the case

is significant. They are especially significant given that she never expected or desired to be part

of this litigation. Therefore, we respectfully ask that this court shift Jane Doe’s reasonable costs

and legal fees to the requesting party, Defendant Guidepost, or any other appropriate party in this

case, such as Plaintiff Hunt, whose opposition to these motions, despite the agreement of all other

parties, brings us to the court.

        Plaintiff’s claims of defamation, invasion of privacy, intentional and negligent infliction

of emotional distress, and public disclosure of embarrassing private facts are against Defendants.

Jane Doe’s testimony was officially noticed and requested by Defendant Guidepost and also

sought by Plaintiff Hunt. Any other party is a more appropriate bearer of the costs and expenses

of her deposition than Jane Doe.

Dated: April 9, 2024


                                              Respectfully submitted,

                                              s/ Melissa J. Hogan
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                              CERTIFICATE OF SERVICE

       The undersigned certifies that on April 9, 2024, I electronically filed a true and correct
copy of the foregoing with the Clerk of Court for the U.S. District Court Middle District of
Tennessee through the Court’s Electronic Case Filing System, which will automatically serve all
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